Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1027 Filed 09/23/08 Page 1 of 28




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                         CRIMINAL NO. 07-20472
             Plaintiff,
                                         DISTRICT JUDGE VICTORIA A. ROBERTS
v.
                                         MAGISTRATE JUDGE DONALD A. SCHEER
CARDELL CLINTON CAMPBELL,

           Defendant.
_________________________________/

                          REPORT AND RECOMMENDATION

I.    RECOMMENDATION:

      I recommend that Defendant Cardell Clinton Campbell’s Motion to Suppress

Evidence be denied.

II.   REPORT:

      A.     Procedural History

      Defendant Cardell Clinton Campbell was charged by Grand Jury Indictment, on

September 25, 2007, with Conspiracy to Possess With Intent to Distribute Cocaine (Count

I) and Possession With Intent to Distribute Cocaine (Count II). Counsel was appointed, and

Defendant entered a plea of not guilty on September 26, 2007. On November 14, 2007,

Defendant filed a Motion to Suppress Evidence, challenging the seizure of a kilogram of

cocaine from his vehicle on September 14, 2007, as well as subsequent inculpatory

statements by him in the wake of the drug seizure. The motion was referred to the

magistrate judge by Order of Reference on November 15, 2007. The government filed its

Brief in Opposition to the motion on November 27, 2007.
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1028 Filed 09/23/08 Page 2 of 28




       The motion was brought on for hearing on December 17, 2007, January 25, 2008

and April 4, 2008. The motion was taken under advisement, and the parties were directed

to submit supplemental briefs. Defendant submitted his supplemental brief on June 10,

2008 (Document 60). The government’s supplemental brief was filed on July 1, 2008

(Document 64), and Defendant’s reply to the government’s submission was filed on July

9, 2008.

       B.     Factual Record

       Based upon the evidence submitted by the parties, I find the following facts:1

       1. The investigation of Defendant Campbell was initiated by Drug Enforcement

Administration Special Agent Brian Malagrida (T2: 203; T3: 81, 83).

       2. Malagrida received information from a confidential informant in mid August 2007

(T2: 203).

       3. His investigation began on August 27, 2007 (T3: 83).

       4. The informant reported that a subject known to him only as “Skip” resided at 6700

Iowa Street, in Detroit. He further reported that “Skip” was a multi-ounce level cocaine

dealer with whom the informant had engaged in prior drug transactions. “Skip” was

described as a slender individual, 5' 9" or 10" tall, with braids. The informant further

reported that the subject drove a green Cadillac automobile (T2: 203-04; T3: 83, 86).

       5. The confidential informant provided the information regarding “Skip” in exchange

for “consideration” in his own federal criminal drug case (T3: 87).



       1
          Each session of the evidentiary hearing resulted in a separate volume of
transcript which are designated T1 (December 17, 2007), T2 (January 25, 2008) and T3
(April 4, 2008).

                                             2
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1029 Filed 09/23/08 Page 3 of 28




        6. Malagrida utilized the Law Enforcement Information Network (“LEIN”), Michigan

Secretary of State records, a DEA intelligence data base, a Michigan State Police data

base and public information sources to associate the Iowa Street address with Clinton Carl

Campbell, age 45 (T2: 204; T3: 87, 93).

        7. Malagrida obtained a driver’s license photograph of Campbell which matched the

description obtained from the confidential informant (T2: 204).

        8. The informant identified the person depicted in the photograph as “Skip” (T2:

204).

        9. Malagrida performed a criminal history check on Campbell, which revealed “more

than one” drug felony (T2: 204).

        10. Malagrida utilized the confidential informant in the conduct of a controlled

purchase of drugs from “Skip,” in late August or early September 2007, and drugs were

recovered from that transaction (T3: 87, 91-92).

        11. The controlled drug purchase was undertaken to corroborate the confidential

informant’s information, which had been based upon reports from other persons as well as

the informant’s personal knowledge and observations (T3: 91).

        12. An official Drug Enforcement Administration report (“EEA-6") was prepared with

regard to the controlled drug purchase, but not disclosed to counsel for the defense (T3:

92).

        13. The confidential informant informed Malagrida that “Skip” was selling drugs to

others (T3: 92), but did not provide the names, dates or other details of such transactions

(T3: 93).



                                             3
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1030 Filed 09/23/08 Page 4 of 28




       14. Surveillance of 6700 Iowa Street, Detroit, by Malagrida and others before

September 14, 2007 yielded no evidence of unlawful activity (T3: 96-100).

       15. On September 14, 2007, Malagrida decided to convene a briefing with members

of a joint State-Federal Violent Crime Task Force, at its headquarters in Detroit (T3: 104).

       16. The attendees included Wayne County Sheriff’s Department (“WCSD”) Deputies

Lilly and Smith, whose intended role in the investigation of Defendant was to remain

available as uniformed officers in a semi-marked car to perform a traffic stop if requested

to do so (T3: 100-03).

       17. Lilly and Smith were told that the task force was conducting a narcotics

investigation, and that Campbell was the target. No other targets or specific locations were

discussed (T3: 101-03).

       18. Campbell was not the only person mentioned as a suspect at the task force

meeting, but Lilly was told that he would be focused on Campbell, and that the Defendant

would be driving a green Cadillac. Lilly was given the license number and informed of the

possibility that drugs might be present in the vehicle (T1: 87; T2: 7-8).

       19. Malagrida did not discuss with Lilly/Smith what would occur at the traffic stop;

or the concepts of plain view or consent search; or the employment of a narcotics detection

dog (T3: 103).

       20. Malagrida told the assembled task force members that the target of this

investigation was Campbell, aka “Skip.”       He displayed Defendant’s photograph and

reviewed his criminal history. Malagrida explained that Campbell was a “hit” as a drug

trafficker in DEA intelligence data. He relayed the report of the confidential informant that

“Mr. Campbell was a multi-ounce quantity of cocaine dealer who just recently hooked up

                                             4
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1031 Filed 09/23/08 Page 5 of 28




with a supply of a couple of kilogram quantities of cocaine which he was offloading for

approximately $25,000 per kilogram.” Finally, Malagrida informed the officers that he

believed a large drug transaction was going to occur that day (T2: 202-203).

       21. Task Force members commenced surveillance at the Iowa Street address at

approximately 1:20 in the afternoon of September 14, 2007 (T2: 204-05).

       22.   At approximately 1:45 p.m., Hartman observed Defendant and a female

individual (Quentisha White) enter a green Cadillac which was parked in front of the

residence (T2: 163-64).

       23. The green Cadillac was followed to 12666 Mendota Street, Detroit, where it was

seen by Sargent Mendoza to enter the driveway (T2: 70-73, 205).

       24. Because Mendoza was conducting a moving surveillance, he was required to

pass by, turn around and wait for a few minutes before he could return to the Mendota

address (T2: 70-73 Mendoza; T2: 205-06 Malagrida).

       25. Upon his return to the Mendota location, Mendoza observed the Cadillac

backing out of the driveway, although he was unable to observe the occupants. Mendoza

radioed his observations to other Task Force members (T2: 72-74).

       26. Based upon Task Force radio traffic, Special Agent Paul Sorce, who was not

in a position to observe the Mendota address, estimated that the Cadillac remained there

for three to four minutes (T1: 24-25 Sorce).

       27. Special Agent Sorce took up the surveillance, following the Cadillac from

Mendota Street. He remained behind the vehicle, and notified other units of its location

(T1: 25).



                                               5
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1032 Filed 09/23/08 Page 6 of 28




        28. Task Force Agents suspected that Campbell had received drugs at the Mendota

address, despite the fact that no one was observed moving between the residence and the

Cadillac. Special Agent Malagrida based his conclusion upon: (a) information obtained

from the confidential source; (b) observations of surveillance officers; and (c) Defendant’s

prior history of drug trafficking (T1: 83 Sorce; T2: 95-96 Mendoza; T2: 207 Malagrida).

        29. An order was given by radio that the green Cadillac should be subjected to a

traffic stop (T2: 207 Malagrida; T1: 82 Sorce; T2: 111-12 Farris; T3: 111-13 Malagrida).

        30. At some point, a WCSD vehicle passed Sorce’s car and stopped the Cadillac

at Santa Rosa and Buena Vista Streets (T1: 25).

        31. Based upon the Task Force briefing, Deputy Lilly understood that his role in the

investigative plan was to perform a traffic stop if requested to do so (T1: 100; T2: 7).

        32. The plan was formulated by Special Agent Malagrida, and the purpose of the

traffic stop was to recover drugs (T1: 102; T2: 7).

        33. Lilly was not assigned to traffic enforcement duties on September 14, 2007 (T1:

118).

        34. Lilly and his partner (Smith) were in a semi-marked Sheriff’s vehicle equipped

with lights and siren (T1: 116).

        35.   Lilly and Smith were wearing black WCSD uniforms (drug unit) bearing

department patches (T1: 86, 117-18).

        36. Lilly and Smith received instructions by radio to effect a traffic stop (T1: 87, 99,

102-03; T2: 10).

        37. Lilly was on Santa Rosa Street, near Fullerton Street, when he received the

instructions (T2: 11).

                                               6
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1033 Filed 09/23/08 Page 7 of 28




       38. Lilly first saw the Cadillac northbound on Santa Rosa (T1: 104).

       39. Lilly cannot identify the person who gave the order over the radio, nor can he

recall the exact words of his instructions (T2: 10).

       40. There were multiple surveillance vehicles involved in the plan, and Lilly/Smith

passed one of those to get behind the Cadillac (T2: 12-13).

       41. Lilly followed Campbell’s vehicle approximately one block before pulling it over

after Defendant failed to signal a turn at Buena Vista and Santa Rosa, at approximately

2:20 p.m. (T1: 87-88, 106, 121; T2: 14).

       42. At the time of the traffic stop, Defendant Campbell was the driver of the Cadillac,

and the female subject was the passenger (T1: 89).

       43. Based on the information he received at the briefing, Lilly approached the

Cadillac with his sidearm drawn and held at the back of his leg. At no time was the weapon

pointed at anyone (T1: 107-09).

       44.   As Lilly approached the vehicle on foot, he observed the female in the

passenger seat move her left leg in a backward motion. Based on his prior experience,

Lilly concluded that she was “hiding something” (T1: 89, 112-13; T2: 14-15).

       45. Lilly asked Campbell for his driver’s license, registration and proof of insurance.

As Campbell produced the items, Lilly observed that he was “shaking uncontrollably” in a

manner suggesting that he was “more than nervous” (T1: 89, 109-10).

       46. Lilly asked Campbell if he was “OK” (T1: 89, 110).

       47. Campbell responded that he “gets nervous” whenever police pull him over (T1:

90, 111).



                                              7
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1034 Filed 09/23/08 Page 8 of 28




       48. Lilly had seen persons exhibit nervousness during traffic stops, but “not shaking

like that though” (T1: 111).

       49. Campbell asked what he had done wrong, and Lilly explained the failure to

signal a turn (T1: 90).

       50. Lilly inquired of Campbell if there was “anything in the vehicle that I need to

know about,” and Campbell asked what he meant. Lilly then rephrased his question to

inquire if any guns or drugs were in the vehicle. Campbell’s answer was “No, I don’t think

so.” (T1: 90, 111).

       51. Lilly looked into the vehicle for suspicious objects, but saw none (T2: 15).

       52. Lilly asked for permission to search the vehicle (T1: 90, 112; T2: 14-15).

       53. Campbell denied permission to search (T1: 90, 112).

       54. Lilly informed Campbell that he was going to summon a canine unit (T1: 115).

       55. Lilly called for a canine unit by telephone, to determine if drugs were in the

vehicle (T1: 90, 115; T2: 15).

       56. At that point, Campbell was not free to go, and Lilly took his car keys to prevent

him from driving away (T1: 122; T2: 114).

       57. Deputy Smith monitored the vehicle while Lilly returned to the police car to

process a LIEN inquiry (T1: 90-91).

       58. Lilly called for the canine unit approximately 4 to 5 minutes after the traffic stop

was effected (T1: 115-16).

       59. The canine unit arrived at approximately 2:40 p.m., after an estimated 15 to 20

minute delay (T1: 120-21).

       60. The dog handler was Corporal Dave Rahn, WCSD (T1: 122; T2: 16).

                                              8
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1035 Filed 09/23/08 Page 9 of 28




       61. Upon Rahn’s arrival, the windows of Campbell’s vehicle were rolled down on

both sides (T2: 17).

       62. Rahn informed Lilly that White and Campbell must either roll up the windows

or exit the vehicle because the dog was “aggressive” and could jump through the window

and injure any occupants of the car (T1: 123-24; T2: 17).

       63. Lilly directed Campbell and White to get out of the car “when they didn’t roll up

the windows,” and both complied (T1: 125; T2: 17).

       64. Campbell and White went to a position behind their vehicle and in front of Lilly’s.

They were not free to leave at that point (T1: 125).

       65. Lilly watched as Rahn and the drug detection dog investigated the exterior of

the Cadillac (T1: 126; T2: 19).

       66. Lilly saw the dog scratch “uncontrollably” at the driver’s side door (T1: 127; T2:

20).

       67. Rahn informed Lilly that the dog was alerting to the vehicle (T2: 20).

       68. Lilly heard Rahn address Campbell. Rahn asked Campbell if anything was in

the vehicle that he needed to know about. That communication occurred before Campbell

was advised of his Miranda rights (T1: 127-28; T2: 21).

       69. Campbell responded that he had been smoking marijuana earlier that day (T1:

128; T2: 19, 21).

       70. Lilly placed Campbell in handcuffs, based upon: (a) the dog alert to the vehicle;

(b) Campbell’s statement regarding marijuana use; and (c) the gesture by the female

passenger (T1: 129-130).

       71. Lilly believed that there were narcotics in the vehicle (T2: 23).

                                              9
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1036 Filed 09/23/08 Page 10 of 28




        72. Corporal Rahn opened the driver’s door of the Cadillac, and the narcotics dog

 jumped into the vehicle (T2: 23).

        73. Lilly observed the dog scratching in the area of the passenger seat. Rahn

 advised Lilly that the dog was “hitting” in that area (T2: 24).

        74. Lilly observed an object sticking out from under the passenger seat, and he

 retrieved the object (T2: 24).

        75. The object consisted of a white, brick shaped material in brown packaging,

 partially protruding from a black plastic bag (T2: 25-27).

        76. The material was field tested and seized as suspected cocaine (T2: 44).

        77. Lilly reported to the Task Force that a kilogram of possible cocaine had been

 seized from the Cadillac (T2: 45).

        78. Campbell was taken to a police facility, advised of his Miranda rights, and

 interviewed by Lilly (T2: 28-30).

        79. Lilly did not issue a traffic citation based upon Campbell’s improper turn (T1:

 119; T2: 14).

        80. The purpose of Lilly’s stop of Campbell’s vehicle was not traffic control, but to

 determine if drugs were in the car (T3: 114, Malagrida; T2: 14 Lilly).

        C.       Analysis

        Defendant Campbell seeks to suppress as evidence the kilogram of cocaine seized

 from his vehicle by Deputy Lilly on September 14, 2007. He further moves for suppression

 of his subsequent inculpatory statements. He offers a number of arguments in support of

 his position. His arguments may be summarized as follows:



                                              10
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1037 Filed 09/23/08 Page 11 of 28




        1. The initial stop of Defendant was unlawful because: (a) he did not commit a traffic

 violation, and (b) there was no independent reasonable suspicion or probable cause to

 support the stop.

        2. The seizure of Defendant Campbell after the stop ripened into an arrest without

 probable cause.

        3. In view of 1 and/or 2, the subsequent search of the vehicle was unlawful, and any

 evidence seized must be suppressed.

        4. Defendant’s subsequent inculpatory statements were the product of his illegal

 detention/arrest and must also be suppressed.

               1.     Initial Stop was Unlawful

        The Fourth Amendment to the Constitution of the United States guarantees “[t]he

 right of the people to be secure in their persons, houses, papers and effects, against

 unreasonable searches and seizures.” U.S. Const., Am. IV. When an officer, by force or

 show of authority, has restrained the liberty of a citizen such that, in view of all the

 circumstances surrounding the incident, a reasonable person would believe that he was

 not free to leave, a seizure has occurred. U.S. v. Mendenhall, 446 U.S. 544, 554-55

 (1980). The temporary detention of an individual during a police stop of a vehicle,

 regardless of the limited purpose or the duration constitutes a “seizure” within the meaning

 of the Fourth Amendment. Whren v. United States, 517 U.S. 806, 809-10 (1996); Delaware

 v. Prouse, 440 U.S. 648, 653 (1979). The stop of an automobile is reasonable, however,

 if police have probable cause to believe that a traffic offense has occurred. Id. Where such

 probable cause exists, the subjective intentions of the officer play no role in ordinary Fourth

 Amendment probable cause analysis. The Court rejected “the idea that an ulterior motive

                                               11
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1038 Filed 09/23/08 Page 12 of 28




 might serve to strip the agents of their legal justification.” Id. at 813. Even before Whren

 was decided, the Sixth Circuit held that, so long as an officer had probable cause to believe

 that a traffic violation had occurred, a resulting stop would be lawful, regardless of what

 else the officer knew or suspected about the traffic violator at the time of the stop. United

 States v. Ferguson, 8 F.3d 385, 391 (6th Cir. 1993), cert. denied, 513 U.S. 828 (1994).

 Case law since Whren has reaffirmed the proposition that an officer who has probable

 cause to believe a civil traffic violation has occurred may stop the vehicle regardless of his

 or her subjective motivation for doing so. United States v. Akram, 165 F.3d 452, 455 (6th

 Cir. 1999).

        In the case at bar, the evidence amply demonstrates that the subjective motivation

 underlying Officer Lilly’s stop of Campbell’s vehicle was the furtherance of the drug

 investigation by the Violent Crime Task Force. That fact alone, however, will not establish

 a violation of Campbell’s Fourth Amendment rights if Lilly had probable cause to believe

 a civil traffic violation had occurred.

        The sworn testimony of Deputy Burnon Lilly constitutes direct evidence that

 Campbell failed to signal a turn at the intersection of Santa Rosa and Buena Vista Streets.

 That evidence, if believed, is sufficient in law to establish the fact of the unsignaled turn.

 Defendant Campbell maintains that Lilly’s testimony regarding the traffic violation is

 “unreliable” and uncorroborated. He advances several points in support of that argument.

        Campbell correctly observes that a traffic stop of Campbell’s vehicle was

 incorporated into the investigative plan outlined by agent Malagrida hours before the

 Defendant was stopped. He further notes that Lilly (and Smith) had no surveillance role

 and remained in stand-by mode until notified that a traffic stop should be effected.

                                              12
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1039 Filed 09/23/08 Page 13 of 28




 Campbell also correctly points out that Lilly was not assigned to traffic enforcement duties

 on the day in question, and that he admitted that the motivation underlying the traffic stop

 was the furtherance of a drug investigation. (Plaintiff’s Brief, pages 15-17). Those factual

 assertions, while accurate, do not negate the fact of an unsignaled turn. There is no doubt

 that Lilly and Smith, as Wayne County Deputy Sheriffs, had traffic enforcement jurisdiction,

 whether or not they were particularly assigned to traffic duties. Defendant himself observes

 that they had no other active role in the drug investigation, which suggests that their traffic

 enforcement authority was the sole basis for their involvement in the project. Although Lilly

 admits to stopping Campbell to advance the drug investigation, Whren and its progeny

 render any ulterior motive irrelevant, so long as a traffic violation occurred.

        Campbell notes that Lilly followed him for only one block before the traffic stop was

 made. Once again, that correct statement of the record fails to undermine Lilly’s sworn

 testimony. Unsignaled turns are a common occurrence. While the exact words of the

 signal to Lilly are not part of the record, there is testimony that the investigative plan did not

 contemplate a traffic stop in the absence of an observed violation (T3: 115-16 Malagrida;

 T1: 79-80, 82 Sorce).

        Campbell emphasizes that no agent witness other than Lilly testified to having

 observed an improper turn. He notes in particular that Special Agent Sorce was “in the

 immediate area of the alleged violation” but did not observe it. (Defendant’s Brief, page

 16). Sorce, however, is a Federal Bureau of Investigation Agent. There is no evidence that

 he has had any training or experience in traffic enforcement, or any particular familiarity

 with the Michigan Civil Code. It is abundantly clear that Agent Sorce was not assigned any

 role in relation to a traffic offense. Even more important, Sorce testified that Lilly’s vehicle

                                                13
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1040 Filed 09/23/08 Page 14 of 28




 was between Campbell’s and his, such that he (Sorce) was not in a position to see whether

 or not a traffic violation occurred at Buena Vista and Santa Rosa Streets (T1: 48). There

 is no evidence in the record that any other investigating agent was in a position to observe

 a traffic violation at that time and place. It is not correct to say, however, that there was

 absolutely no corroboration of Lilly’s observation. Both Sorce and Task Force Agent Farris

 testified to contemporary radio transmissions announcing Lilly’s observation of a traffic

 violation (T2: 112 Farris; T1: 48 Sorce). Sorce specifically recalled hearing that a failure

 to signal had been observed (T1: 48). Farris also believed that the radio call announced

 a failure to use a turn signal, but he was not positive on that detail (T2: 112).

        Campbell further attempts to buttress his argument by observing that no traffic

 citation was issued for his failure to signal. While the observation is accurate, it is neither

 surprising nor illogical that no ticket was issued. In his dissenting opinion in Akram, Judge

 Guy wrote that he knew of no similar case in which a traffic violation notice had ever been

 issued. While he found that circumstance troublesome, the majority opinion did not. I

 share the latter view. When a motorist known to have been convicted of a drug related

 felony is found to be in possession of a kilogram of cocaine, it is not surprising that law

 enforcement personnel might elect to forego the issuance of a traffic citation for a civil

 infraction. In fact, there is something almost comically anticlimactic about capping an arrest

 for a federal felony narcotics trafficking offense, carrying a statutory penalty of 10 years to

 life imprisonment and a $4,000,000.00 fine, with a state civil infraction summons for failing

 to signal a turn. The issuance of a citation is not evidence of a violation. Nor is the lack

 of a ticket evidence that a violation did not occur. Should courts insist upon the writing of

 a ticket, police agencies will surely issue them, but to no good effect. An officer willing to

                                               14
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1041 Filed 09/23/08 Page 15 of 28




 testify to a traffic offense would surely not balk at writing a citation to buttress his story.

 The citation will be as genuine as the testimony, but will be of no use in determining

 credibility.

         Finally, Defendant claims that Lilly “contradicted himself about where he first

 followed Campbell and where the traffic stop and alleged violation occurred.” (Defendant’s

 Brief, page 17). It does appear that Lilly mis-spoke himself. Nonetheless, there is no real

 doubt that the sheriff’s deputy undertook the pursuit of Campbell on Santa Rosa Street and

 based his stop upon an unsignalled turn onto Buena Vista. Those facts are established in

 other statements by Lilly, as well as the testimony of Agent Sorce who was clear as to the

 locations. I do not find that the isolated misstatement as to location undermines Lilly’s

 credibility as to the traffic violation. Inconsistencies and incongruities in the testimony of

 witnesses, in the absence of evidence tending to undermine their veracity, should be

 reconciled when possible. “If the testimony is irreconcilable, the presumption of reason as

 well as law, will impute the variance to an innocent misconception rather than to a willful

 and corrupt misrepresentation.” See The Seeandbee, 102 F.2d 577 (6th Cir. 1939). Aside

 from Lilly’s isolated error, Defendant’s entire attack upon his credibility is based upon an

 absence of corroboration, and not upon the existence of contradictory evidence. There is

 no evidence in the record that Campbell did not fail to signal his turn at the intersection of

 Santa Rosa and Buena Vista Streets. In the absence of any contradictory evidence, the

 court in Akram found no basis upon which to reject the district court’s acceptance of the

 arresting officer’s testimony.      165 F.3d at 456.       Similarly, in the absence of any

 contradictory evidence, I accept Lilly’s sworn account of his encounter with Campbell as

 credible. As I find that a traffic violation did occur, I am satisfied that Lilly’s traffic stop of

                                                 15
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1042 Filed 09/23/08 Page 16 of 28




 Campbell’s vehicle was justified and lawful. No violation of the Defendant’s Fourth

 Amendment rights occurred by reason of the fact that Lilly’s intent in making the stop was

 to advance a drug investigation.

               2.     Seizure of Defendant After Traffic Stop Ripened into Arrest
                      Without Probable Cause

        Assuming, for purposes of his argument, that a traffic violation occurred, Defendant

 maintains that any detention beyond that necessary to conduct an investigation of the civil

 traffic infraction must be supported by reasonable suspicion of more extensive criminal

 conduct. United States v. Townsend, 305 F.3d 537 (6th Cir. 2002). The record reflects that

 Lilly asked Defendant to produce his driver’s license, registration and proof of insurance.

 Those documents were produced, and appeared valid on their face. Defendant argues that

 the officer was then “able to confirm the information and could either issue a warning or

 citation,” and that any detention “beyond that purpose” was unlawful.

        The validity of Campbell’s argument may be reasonably questioned, based upon a

 recent decision of the Supreme Court in Virginia v. Moore, 553 U.S.          (2008). In that

 case, police arrested a motorist for a traffic offense which, under state law, was not an

 arrestable offense but one which would warrant only the issuance of a summons. A search

 incident to the arrest led to the seizure of illegal drugs, for the possession of which the

 defendant was subsequently charged and convicted.            The Virginia Supreme Court

 reversed, reasoning that the arresting officer should merely have issued a citation, and that

 a search subsequent to the defendant’s arrest was a violation of his Fourth Amendment

 rights. The Supreme Court of the United States reversed the Virginia Supreme Court,

 holding that when an officer has probable cause to believe a person committed even a


                                              16
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1043 Filed 09/23/08 Page 17 of 28




 minor crime in his presence, an arrest is constitutionally permissible, even if state law

 prescribes a more restrictive search and seizure policy. The arrest offense in Moore was

 a misdemeanor, as opposed to the “civil infraction” for which Campbell was stopped.

 Whether or not the violation in question here was a “minor crime” for Fourth Amendment

 purposes remains unclear. I am satisfied that it was. Even if it was not, however, the

 actions of the law enforcement officers in this case can be justified on grounds separate

 and distinct from those upon which the Moore decision was based.

        Defendant acknowledges Lilly’s testimony that Campbell was shaking uncontrollably

 while providing his documents - to the point that the deputy inquired as to his medical

 condition. Campbell responded that he was alright, and indicated that he gets nervous

 when confronted by the police. The defense concedes that nervousness is a factor to

 consider in determining the existence of reasonable suspicion, but emphasizes that it is

 insufficient, in itself, because there are many innocent explanations for nervousness in the

 presence of the police. Campbell contends that he gave Lilly a logical and reasonable

 explanation for his nervousness that would dispel any suspicion. He further argues that his

 nervousness was heightened by the fact that Lilly approached his car with his weapon

 drawn. As to the latter point, however, the unrebutted testimony is that Lilly concealed the

 firearm behind his trouser leg. There is no evidence in the record that Campbell, or his

 passenger, was even aware that the weapon was drawn. There was certainly no mention

 of it in the testimony regarding the conversation between Lilly and Defendant. Although

 Lilly admitted to observing other persons who exhibited nervousness in his official

 presence, he testified that none had exhibited the level of distress displayed by Campbell.

 While nervousness in the context of a traffic stop has been described as an unreliable

                                             17
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1044 Filed 09/23/08 Page 18 of 28




 indicator in support of reasonable suspicion, United States v. Saperstein, 723 F.2d 1221,

 1228 (6th Cir. 1983), it is reasonable to conclude that an extraordinary display of

 nervousness would elevate the level of suspicion that more than a traffic infraction gave

 rise to it.

         Campbell’s brief does not address the role that his passenger’s conduct played in

 arousing the deputy’s suspicion. Lilly testified that, upon his approach to the Cadillac, he

 observed the Defendant’s female passenger (White) move her leg two or three times

 toward the car seat “like she was kicking something.” It appeared to Officer Lilly as though

 she were attempting to hide something. In the context of the information received by Lilly

 at the task force briefing earlier that day, the officer’s conclusion was certainly reasonable,

 despite the fact that he did not actually observe contraband.

         When asked by Deputy Lilly whether drugs or weapons were in his vehicle,

 Campbell responded “No, I don’t think so.” That response, in the context of Lilly’s task

 force briefing, and his on scene observations, did little to resolve suspicion.

               The process does not deal with hard certainties, but with
               probabilities. Long before the law of probabilities was
               articulated as such, practical people formulated certain
               common sense conclusions about human behavior; jurors as
               fact finders are permitted to do the same - - and so are law
               enforcement officers. Finally, the evidence thus collected must
               be seen and weighed not in terms of library analysis by
               scholars, but as understood by those versed in the field of law
               enforcement.

 United States v. Cortez, 449 U.S. 411, 418 (1981). Deputy Lilly and his partner had

 received information in the task force briefing that Campbell (aka “Skip”) was a convicted

 drug trafficker and the target of an active task force investigation. They were exposed to

 his photograph and criminal history. They learned that Campbell was identified as a

                                               18
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1045 Filed 09/23/08 Page 19 of 28




 trafficker in DEA intelligence information as well as by a confidential informant. They

 learned that the informant reported that Campbell had just received a multi-kilogram

 quantity of cocaine which he was distributing, and they were also told that Malagrida

 believed a significant transaction would occur that day. The deputies were told to stand by

 for a signal to follow the Cadillac and stop it for any observed traffic violations. They were

 further told that drugs might be in the vehicle. It is in that context that Deputy Lilly effected

 a traffic stop and approached Campbell and his companion. It is in that light that he

 observed Campbell’s extraordinary nervousness and his companion’s apparent effort to

 conceal something within the vehicle. I am satisfied that, under the circumstances

 described in the evidence, Lilly had reasonable suspicion that a drug trafficking violation

 was occurring, and that he was fully justified in briefly detaining the two suspects until a

 drug detection dog could be summoned.

        Where law enforcement officers have reasonable suspicion of unlawful narcotics

 trafficking, the permissible scope of an investigative stop of a vehicle is not exceeded by

 exposure of the vehicle to a drug detection dog within a half hour of the initiation of the

 stop. “[A]n investigative detention must be temporary and last no longer than is necessary

 to effectuate the purpose of the stop.” United States v. Davis, 430 F.3d 345, 354 (6th Cir.

 2005) (quoting Florida v. Royer, 460 U.S. 491, 500 (1983). The scope of activities

 conducted during an investigatory stop “must be reasonably related to the circumstances

 that initially justified the stop.” United States v. Richardson, 949 F.2d 851, 856 (6th Cir.

 1991). To detain the motorist any longer than is necessary to issue the traffic citation

 requires reasonable suspicion that the individual has engaged in more extensive criminal

 conduct. United States v. Townsend, 305 F.3d 537, 541 (6th Cir. 2002). The reasonable

                                                19
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1046 Filed 09/23/08 Page 20 of 28




 suspicion required for continued investigatory detention, however, is not as demanding a

 standard as the probable cause required for a search. Id. Upon approaching Campbell

 and his companion following the traffic stop, Deputy Lilly observed circumstances which,

 in combination with information obtained earlier at the task force briefing, gave rise to

 reasonable suspicion that Defendant and his passenger were engaged in a drug trafficking

 offense. Exposure of a drug detection dog to the vehicle was a reasonable measure for

 promptly resolving that suspicion. The canine sniff procedure does not intrude upon a

 person’s reasonable expectation of privacy, and does not constitute a search within the

 meaning of the Fourth Amendment. United States v. Place, 462 U.S. 696, 707 (1983);

 United States v. Reed, 141 F.3d 644, 649 (6th Cir. 1998). The evidence establishes that

 Corporal Rahn was summoned within five minutes, and exposed his certified drug detection

 dog to Defendant’s vehicle within 30 minutes of the initial stop. I conclude, therefore, that

 the detention of the suspects did not offend the Fourth Amendment. United States v.

 Garcia, 496 F.3d 495.

        Campbell asserts that, following his refusal to consent to a search of his vehicle, the

 officers deprived him of his car keys to prevent him from leaving. He argues that his

 detention was transformed into an arrest, without probable cause, at that point in time. It

 is well established that a traffic stop entails a “seizure” of the driver, in Fourth Amendment

 terms, even though the purpose of the stop is limited and the resulting detention is brief.

 Brendlin v. California, 127 S.Ct. 2400 (2007). Actions to prevent a vehicle from moving,

 so its occupant is unable to leave during the course of an investigatory stop are reasonable

 measures to maintain the status quo while pursuing the purpose of the stop. See United

 States v. Tuley, 161 F.3d 513, 515 (8th Cir. 1998). Campbell also complains of his removal

                                              20
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1047 Filed 09/23/08 Page 21 of 28




 from the vehicle prior to the initiation of the dog sniff procedure. The evidence established

 that his (and White’s) relocation was a measure for the protection of Defendant and his

 companion from injury by the dog, and to allow the handler to employ the dog immediately

 and without interference. I am satisfied that the officer’s conduct in these respects did not

 elevate Campbell’s status from detainee to arrestee. In Pennsylvania v. Mimms, 434 U.S.

 106 (1977), the Supreme Court addressed a situation in which a driver was asked to exit

 his vehicle for purposes of officer safety.

               Against this important interest we are asked to waive intrusion
               into the driver’s personal liberty occasioned not by the initial
               stop of the vehicle, which was admittedly justified, but by the
               order to get out of the car. We think this additional intrusion
               can only be described as de minimus. The driver is being
               asked to expose to view very little more of his person than is
               already exposed. The police have already lawfully decided that
               the driver shall be briefly detained; the only question is whether
               he shall spend that period sitting in the driver’s seat of his car
               or standing along side it. Not only is the insistence of the
               police on the latter choice not a serious intrusion upon the
               sanctity of the person, but it hardly rises to the level of a petty
               indignity. What is at most a mere inconvenience cannot prevail
               when balanced against legitimate concerns for the officer’s
               safety.

 Pennsylvania v. Mimms, 434 U.S. at 111. In the case at bar, the considerations giving rise

 to Lilly’s direction that Campbell and his passenger exit the vehicle were the Defendant’s

 safety and the expeditious completion of the narcotics dog sniff process. Each is an

 important interest in its own right, and their combined importance more than warrants the

 minimal intrusion of which Campbell complains. Furthermore, Lilly testified that he offered

 Campbell and White the option of remaining in the vehicle so long as they rolled up the

 windows. For whatever reasons, Defendant and his passenger neglected to exercise either



                                               21
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1048 Filed 09/23/08 Page 22 of 28




 option.2 Only then did Lilly direct them to get out of the car and stand behind it. Neither

 Campbell nor White was subjected to any form of physical touching or restraint prior to the

 point at which the canine alerted to the vehicle. At that point, the officers had probable

 cause to believe that controlled substances were located within it. The warrantless search

 of the Cadillac was then sufficiently justified. United States v. Hill, 195 F.3d 258, 273 (6th

 Cir. 1999) (An alert by a properly trained and reliable dog establishes probable cause for

 a warrantless search of a stopped vehicle).

        I reject as well Defendant’s suggestion that the exposure of the canine to the interior

 of his vehicle was unlawful because Defendant’s admission of marijuana use earlier that

 day sufficiently explained the dog’s alert to the exterior of the car. It is well established in

 our circuit that a probable cause determination does not require that every contrary

 hypothesis be excluded. United States v. Wagers, 452 F.3d 534, 542 (6th Cir.), cert.

 denied, 127 S.Ct. 596 (2006). In the instant case, the application of that well established

 concept is unnecessary, since Campbell’s “explanation” for the positive dog alert was his

 own recent drug possession in the vehicle. Far from undermining a finding of probable

 cause, Defendant’s statements to Officer Rahn merely confirmed the accuracy of the dog’s

 reaction and provided a basis for the reasonable conclusion that evidence of drug

 involvement might remain in the car. Exposure of the canine to the interior of the vehicle

 was fully appropriate to the circumstances.




        2
          In United States v. Lewis, 2005 WL 35555502 (W.D. MI), Judge Quist denied a
 motion to suppress evidence in a case in which a traffic violation detainee was
 physically removed from his vehicle after refusing to get out so that a drug detection dog
 could be employed.

                                               22
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1049 Filed 09/23/08 Page 23 of 28




        In its Supplemental Brief, the government argues that, independent of a valid traffic

 stop, there was probable cause: (a) to arrest Campbell based upon prior criminal activity;

 and/or (b) to believe that controlled substances were in the car. For the reasons discussed

 in the foregoing sections, I view these arguments as superfluous. Nonetheless, Defendant

 did respond to them, and I am satisfied that they should be addressed.

        The government relies upon the “totality of the circumstances” concepts enunciated

 in Illinois v. Gates, 462 U.S. 213 (1983). The prosecution observes that agents involved

 in the investigation of this Defendant were aware of his criminal record of conviction for

 drug distribution activities. They were possessed of information from an informant that

 Campbell would be involved in drug activities at or near the time in question. Agents were

 aware that Defendant had been involved in the delivery of drugs to the confidential

 informant within the previous two weeks. That activity not only tended to confirm the

 accuracy of the informant’s information, but also established recent criminal activity on

 Campbell’s part. Finally, the agents had knowledge of Campbell’s surveilled movement

 from Iowa Street to 12666 Mendota, where he remained only three to five minutes before

 driving away.

        Agent Malagrida’s unrebutted testimony established that the controlled purchase of

 drugs by the confidential informant from Campbell was surveilled by agents of the Violent

 Crime Task Force and that the controlled substances had been recovered. Based on those

 facts, the agents had probable cause to arrest Campbell for a felony drug distribution

 offense. It is well settled that police may arrest a person in a public place, even without a

 warrant, so long as they have probable cause to believe that the individual has committed

 a crime. See United States v. Watson, 423 U.S. 411, 423-24 (1976). It is clear as well that

                                              23
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1050 Filed 09/23/08 Page 24 of 28




 officers may make a warrantless arrest, even though adequate opportunity existed to

 procure a warrant after developing probable cause. United States v. Wright, 16 F.3d 1429

 (6th Cir. 1994). Furthermore, “[t]here is no constitutional infirmity in arresting a defendant

 where probable cause to make the arrest exists and the purpose of the arrest is to facilitate

 an otherwise lawful search.” United States v. Francis, 646 F.2d 251 (6th Cir. 1981). Finally,

 it is not necessary that the officer actually performing an arrest have knowledge of all the

 facts and circumstances giving rise to probable cause. Rather, probable cause for arrest

 may be founded upon collective police knowledge. See United States v. Calandrella, 605

 F.2d 236, 246 (6th Cir. 1979), United States v. Killebrew, 594 F.2d 1103, 1105 (6th Cir.

 1979), United States v. McManus, 560 F.2d 747, 750-51 (6th Cir. 1977), cert. denied, 434

 U.S. 1047 (1978). In the case at bar, Deputies Lilly and Smith became participants in the

 Violent Crime Task Force investigation prior to the contact with Campbell. They had

 learned a substantial amount of information about the Defendant’s background and the

 other facts assembled by Agent Malagrida and his organization. While there is no evidence

 that Lilly and his partner were aware of the recent sale of drugs by Campbell to the

 informant, that information was clearly within the collective knowledge of the task force.

        Even in circumstances in which an arresting officer has nothing more than a bulletin

 from another police organization that a person is suspected of a criminal offense, an

 investigatory stop of the subject would be constitutionally justifiable by objective reliance

 on the bulletin, so long as the police who issued it possessed a reasonable suspicion

 justifying the stop. United States v. Hensley, 469 U.S. 221 (1985).

        Defendant in the case at bar offers no authority contrary to those cited above. He

 merely argues that the government may not assert its collective knowledge as establishing

                                              24
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1051 Filed 09/23/08 Page 25 of 28




 probable cause/reasonable suspicion for Defendant’s arrest/investigatory detention

 because the witnesses involved have “explicitly testified that the vehicle would not have

 been stopped without a traffic violation.” (Defendant’s Brief, Page 22). Citing United States

 v. Townsend, 305 F.3d 537 (6th Cir. 2002), Campbell maintains that the government, having

 relied on a traffic violation as the basis for its action, “cannot not claim a different basis to

 support the stop that the police did not rely on.” The argument has two weaknesses. First,

 it is inaccurate, in my view, to state that the investigative information amassed by the task

 force was not relied upon in bringing about Defendant’s apprehension. Based on the

 testimony, I conclude that the signal calling for Lilly and Smith to make a traffic stop was

 based upon the events observed during the task force surveillance in the context of all the

 information they had uncovered in the course of their investigation.             That body of

 information certainly included the controlled purchase of drugs from Campbell by the

 informant in the preceding two week period. Second, there is authority for the proposition

 that, even where a traffic stop is subsequently invalidated, suppression of evidence found

 in the vehicle was not required if information within the collective knowledge of the

 requesting authority would have warranted an investigative stop based on reasonable

 suspicion, during which the narcotics dog employed during the (invalid) traffic stop could

 have been employed to the same effect. See United States v. Ramirez, 473 F.3d 1026 (9th

 Cir. 2007).

        “Reasonable suspicion” and “probable cause” are legal conclusions ultimately within

 the proper province of the court. They exist, or not, regardless of the subjective mindset

 of the officers on the scene of a search or seizure. Whether an officer is doubtful or

 confident of the constitutionality of his actions does not finally determine the issue. That

                                                25
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1052 Filed 09/23/08 Page 26 of 28




 he took action on a faulty theory of law does not render his work for naught if his conduct

 was justifiable on the same facts under a correct theory not within his contemplation at the

 time he acted. I am satisfied that, at the very least, the information within the collective

 knowledge of the Violent Crime Task Force would have warranted an investigative stop

 based upon reasonable suspicion of drug distribution activity. It is logical to conclude that

 any such stop would have afforded Deputy Lilly the same observations of nervousness and

 furtive movement which prompted his employment of the canine narcotics detection unit.

               3.     Inculpatory Statements Resulted From Illegal Detention/Arrest

        Defendant Campbell challenges the government’s use of his incriminating

 statements made while he was “interviewed” by Deputy Lilly. The sole argument in support

 of that challenge is that the statements were obtained through the exploitation of an

 unlawful detention and arrest.

               The general remedy for a Fourth Amendment violation is that
               evidence obtained due to the unconstitutional search or seizure
               is inadmissible. The scope of evidence to be excluded sweeps
               broadly, including both evidence obtained as a direct result of
               an unconstitutional search or seizure, as well as evidence that
               is considered the fruit of a prior illegality that was come at by
               exploitation of the prior illegality.

 United States v. Dice, 200 F.3d 978, 983 (6th Cir. 2000).

        As stated in the previous sections of this Report, I am satisfied that the tangible

 evidence recovered as a consequence of the traffic stop of Campbell and his passenger

 on September 14, 2007 is not the product of any violation of his Fourth Amendment rights.

 The unrebutted testimony of Officer Lilly is that Campbell was advised of his rights under

 Miranda v. Arizona, 384 U.S. 436 (1966). The same witness testified that Campbell



                                              26
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1053 Filed 09/23/08 Page 27 of 28




 voluntarily waived those rights and offered the statements in question. I find no basis upon

 which to recommend suppression of his incriminating disclosures.

        For all of the above reasons, I recommend that Defendant Cardell Clinton

 Campbell’s Motion to Suppress Evidence be denied.

 III.   NOTICE TO PARTIES REGARDING OBJECTIONS:

        The parties to this action may object to and seek review of this Report and

 Recommendation, but are required to act within ten (10) days of service of a copy hereof

 as provided for in 28 U.S.C. Section 636(b)(1) and E.D. Mich. LR 72.1(d)(2). Failure to file

 specific objections constitutes a waiver of any further right of appeal. United States v.

 Walters, 638 F.2d 947 (6th Cir. 1981), Thomas v. Arn, 474 U.S. 140 (1985), Howard v.

 Secretary of HHS, 932 F.2d 505 (6th Cir. 1991). Filing of objections that raise some issues

 but fail to raise others with specificity, will not preserve all the objections a party might have

 to this Report and Recommendation. Smith v. Detroit Federation of Teachers Local 231,

 829 F.2d 1370, 1373 (6th Cir. 1987), Willis v. Secretary of HHS, 931 F.2d 390, 401 (6th Cir.

 1991). Pursuant to E.D. Mich. LR 72.1(d)(2), a copy of any objections is to be served upon

 this Magistrate Judge.

        Within ten (10) days of service of any objecting party's timely filed objections, the

 opposing party may file a response. The response shall not be more than five (5) pages

 in length unless by motion and order such page limit is extended by the Court. The

 response shall address specifically, and in the same order raised, each issue contained

 within the objections.

                                                     s/Donald A. Scheer
                                                     DONALD A. SCHEER
                                                     UNITED STATES MAGISTRATE JUDGE
 DATED: September 23, 2008

                                                27
Case 2:07-cr-20472-VAR-DAS ECF No. 73, PageID.1054 Filed 09/23/08 Page 28 of 28




                                CERTIFICATE OF SERVICE

        I hereby certify on September 23, 2008 that I electronically filed the foregoing paper
 with the Clerk of the Court sending notification of such filing to all counsel registered
 electronically. I hereby certify that a copy of this paper was mailed to the following non-
 registered ECF participants on September 23, 2008. None.

                                           s/Michael E. Lang
                                           Deputy Clerk to
                                           Magistrate Judge Donald A. Scheer
                                           (313) 234-5217




                                              28
